
259 P.3d 1076 (2011)
2011 UT App 263
STATE of Utah, in the interest of J.C.R, J.D.R., and K.R., persons under eighteen years of age.
J.R., Appellant,
v.
State of Utah, Appellee.
No. 20110298-CA.
Court of Appeals of Utah.
August 11, 2011.
Joseph Lee Nemelka, Salt Lake City, for Appellant.
Mark L. Shurtleff and John M. Peterson, Salt Lake City, for Appellee.
Kelly J. Ryan, Salt Lake City, Guardian Ad Litem.
Before Judges DAVIS, McHUGH, and CHRISTIANSEN.

DECISION
PER CURIAM:
¶ 1 J.R. (Father) appeals the termination of his parental rights after he voluntarily relinquished his parental rights in open court. We affirm.
¶ 2 When a parent relinquishes his or her parental rights under Utah Code section 78A-6-514, the relinquishment is effective immediately upon signing, and the relinquishment is irrevocable. See Utah Code Ann. § 78A-6-514(4) (2008). The court accepting the relinquishment must certify that the parent executing the relinquishment has read and understood the relinquishment and has signed it freely and voluntarily. See id. § 78A-6-514(3). Here, the juvenile court verified that Father understood the relinquishment and that he was freely and voluntarily relinquishing his parental rights. The juvenile court's determination that Father voluntarily relinquished his parental rights will not be overturned unless the decision was clearly erroneous, meaning that the decision was against the clear weight of the evidence. In re A.G., 2001 UT App 87, ¶ 4, 27 P.3d 562.
¶ 3 On March 25, 2011, Father confirmed that he wished to voluntarily relinquish his parental rights to his children, and acknowledged that he would have no further rights regarding the children's future care, custody, visitation, or adoption. Father affirmed that he was freely and voluntarily relinquishing his parental rights, and acknowledged that he had not been induced, or coerced, to relinquish his parental rights. Father also admitted that it was in the children's best interests to terminate his parental rights.
¶ 4 The juvenile court's determination that Father voluntarily relinquished his parental rights is supported by the clear weight of the evidence. Because the juvenile court's findings are supported by the clear weight of the evidence, this court is required to affirm the juvenile court's order terminating Father's parental rights. See In re A.G., 2001 UT App 87, ¶ 4, 27 P.3d 562.
¶ 5 Accordingly, the juvenile court's order terminating Father's parental rights is affirmed.
